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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY



                                                    )
  BRYAN MESSENGER,                                  )
                                                    )
         Plaintiff,                                 )        Case No.:
                                                    )
 v.                                                 )
                                                    )
  NATIONAL BOARD OF MEDICAL                         )        JURY TRIAL
  DEMANDED EXAMINERS,                               )
                                                    )
                                                    )
 Defendant.                                         )
                                                    )

 _____________________________________________________________________________

                PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT
            OF PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
 _____________________________________________________________________________

                                       INTRODUCTION

        Plaintiff Bryan Messenger has dyslexia and seeks double time as a testing

 accommodation on the United States Medical Licensing Examination Step 2 CK (USMLE Step 2

 CK), a test administered by Defendant National Board of Medical Examiners (NBME).

 Messenger must pass the USMLE Step 2 CK to obtain a medical license and competitively apply

 for residency programs. The double time that Messenger seeks is the same accommodation that

 Messenger received for examinations in medical school on the basis of extensive testing and

 documentation.

        Despite NBME’s history of providing double time as a testing accommodation and Dr.

 Messenger’s well-documented need for such double time, NMBE has refused his requests for

 this accommodation. As a result, Dr. Messenger has been unable to obtain scores that accurately
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 measure his ability rather than his disability and his dream of becoming a pediatrician has been

 put on hold indefinitely. Dr. Messenger moves for preliminary injunctive relief so that he can

 take the test with accommodations by July 15, 2017, in time for him to submit a competitive

 application for summer 2018 residency programs.

                                    STATEMENT OF FACTS

        Dr. Messenger has long planned to become a pediatrician. (Ex. 1, Messenger Decl. ¶ 4).

 Dr. Messenger has dyslexia and has always experienced difficulty reading. (Id. at ¶ 6). He did

 not learn to read until second grade. (Id.) When his grade school teacher noticed his problems

 with reading, Dr. Messenger was tested and determined to have a learning disability. (Id. at ¶ 7).

 He had an Individual Education Program (IEP) in place from second grade through tenth grade

 for the purpose of improving his reading fluency and speed. (Id.) From elementary school

 through college, Dr. Messenger regularly took two to three times longer than his peers to read

 assignments and write papers. (Id. at ¶ 8).

        Dyslexia makes it difficult to read, write, and comprehend written language with

 accuracy and fluency. Dr. Messenger’s ability to read and understand information is extremely

 slow. Dyslexia affects Dr. Messenger’s daily life. He has difficulty following maps and driving

 directions. He also has difficulty using grocery lists and frequently returns home with incorrect

 items. Dr. Messenger skips steps in recipes and sometimes includes wrong ingredients or leaves

 something out. His two oldest children are in first and third grades. They already read better

 than he does. It takes Dr. Messenger four times as long as his wife to read an email or letter. His

 wife often helps him read and write emails, especially when he needs to respond quickly. (Id. at

 ¶¶ 9, 10). During examinations, he takes longer to process the questions. This is the case even




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 though he has studied and knows the information being tested. He also experiences fatigue

 during tests. (Id. at ¶ 10).

          In December 2011, Dr. Messenger was re-evaluated by an expert and was again

 diagnosed with a reading disorder. The expert concluded that Dr. Messenger needs additional

 time on tests. (Id. at ¶ 11). Dr. Messenger received extra time on tests while in medical school

 at St. George’s University. (Id. at ¶ 12). With this necessary testing accommodation, Dr.

 Messenger successfully completed medical school. He received his M.D. degree in April 2017.

 (Id.).

          In September 2015, Dr. Messenger took the USMLE Step 2 CK without testing

 accommodations and failed the exam. (Id. at ¶ 13). Because he did not have enough time to

 complete the exam, the test measured his disability rather than his ability. He requested testing

 accommodations before attempting the exam again. Because NBME requires disability

 documentation no more than three years prior to a request for accommodation, Dr. Messenger

 underwent an additional evaluation by Lisa P. Kestler, Ph. D., of The Dyslexia of Princeton in

 Princeton, New Jersey. (Id. at ¶¶ 13-14). Dr. Kestler confirmed Dr. Messenger’s diagnosis of

 dyslexia and concluded that he needs double time for tests. (Ex. 2, Kestler Decl. at ¶¶ 9-11, 16).

          Dr. Kestler found that Dr. Messenger has dyseidetic dyslexia and dysphonetic dyslexia.1

 (Id. at ¶ 11). His pattern of decoding and encoding written language indicates significant

 difficulty perceiving and remembering whole words, as well as significant difficulty integrating

 symbols and sounds to use rules of phonics for reading and spelling. (Id.). Dr. Messenger’s




 1
  Dyseidetic dyslexia is a reduced ability to perceive whole words for instantaneous reading and
 spelling, despite the word having been seen on repeated occasions. Dysphonetic dyslexia is a
 reduced ability to integrate symbols and sounds, resulting in difficulty developing and using
 word attack skills to decode single, unknown words. (Id. ¶ 11 n.1).
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 general cognitive ability is in the superior range, with a full-scale IQ of 126. In contrast,

 however, he demonstrated clinically significant weakness in basic reading skills, and he also

 demonstrated poor spelling, sentence composition, and grammar and mechanics in composing

 essays. His level of oral reading fluency is equivalent to that of an average 4th grade-4th month

 student (based on Gray Oral Reading Test). (Id. at ¶ 12).2 Dr. Messenger’s current reading

 comprehension and fluency skills are over 2½ standard deviations below his general ability level.

 His scores for written expression are nearly 2 standard deviations below. Dr. Kestler concluded

 that Dr. Messenger meets criteria for Specific Learning Disabilities in Reading and Written

 Expression. (Id. at ¶ 15).

        Dr. Kestler’s professional opinion, based upon her expertise and significant testing of Dr.

 Messenger, is that, due to his dyslexia, Dr. Messenger needs double time to complete tests,

 including but not limited to the USMLE Step 2 CK. His level of fluency in reading and writing

 are below the level that he can demonstrate his knowledge without additional time. Absent

 double time on the USMLE Step 2 CK, Dr. Messenger will not be able to demonstrate his

 knowledge of medicine. (Id. at ¶¶ 16-17).

        On November 16, 2015, Dr. Messenger submitted an application for testing

 accommodations to the NBME. He requested extra time on USMLE Step 2 CK. (Ex. 1,

 Messenger Decl. ¶ 15). He submitted Dr. Kestler’s report along with the 2011 report

 diagnosing him with a reading disability and recommending extra time and documentation

 from his medical school indicating that it gives him double time on examinations. On March 3,

 2016, NMBE denied his request. (Id. at ¶ 16). Subsequently, on May 31, 2016, Dr. Messenger



 2
  Dr. Kestler also reviewed the results of testing administered to Dr. Messenger during
 elementary school. She concluded that those test results also support a diagnosis of dyslexia and
 demonstrate that Dr. Messenger has had this disability since childhood. (Id. at ¶ 14).
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 was forced to take the USMLE Step 2 CK without accommodations. The lack of testing

 accommodations meant that the test measured the extent of his dyslexia rather than the extent

 of his knowledge of medicine, and he again failed the exam.

         In November 2016, Dr. Messenger renewed his request to Defendant for double time on

 the USMLE Step 2 CK exam. (Id. at ¶ 18). In a letter dated December 9, 2016, Defendant

 again denied Dr. Messenger’s request for testing accommodations. (Id. at ¶ 19). To date, Dr.

 Messenger has not taken the USMLE Step 2 CK again given NBME’s refusal to accommodate

 his disability. (Id. at ¶ 20).

         Dr. Messenger received his M.D. degree in April 2017. (Id. at ¶ 5). However, passing

 the USMLE Step 2 CK is a prerequisite for his acceptance to residency programs. As a result

 of NMBE’s refusals to accommodate his disability and his resulting failing results on USMLE

 Step 2 CK, Dr. Messenger was unable to obtain 2016 or 2017 residency placements. (Id. at ¶

 24). In order to competitively apply for 2018 residency programs, he must take the USMLE

 Step 2 CK by July 15, 2017. (Id. at ¶ 25). The more time that passes between Dr. Messenger’s

 completion of his clinical rotations and his participation in residency, the greater the likelihood

 that Dr. Messenger will not be accepted into a residency program because he will have missed

 the opportunity to timely put into practice the knowledge and skills he learned during medical

 school. (Id. at ¶ 26). Because Dr. Messenger must complete a residency program in order to

 become a pediatrician, his career and ability to care for his family are in significant and

 immediate jeopardy. (Id. at ¶¶ 27-28).

         Extended time is an accommodation that the NMBE routinely offers for test-takers.

 National Board of Medical Examiners, Test Accommodations, available at

 http://www.nbme.org/students/accomodations.html (last accessed May 25, 2017). NMBE also



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 entered into into a settlement agreement with the U.S. Department of Justice (DOJ) in February

 2011 after it refused to provide testing accommodations to a dyslexic student at Yale Medical

 School. Justice Department Settles with National Board of Medical Examiners over Refusal to

 Provide Testing Accommodations to Yale Medical School Student, available at

 https://www.justice.gov/opa/pr/justice-department-settles-national-board-medical-examiners-

 over-refusalto-provide-testing (last accessed May 25, 2017). As a result of the settlement,

 NBME committed to “providing reasonable testing accommodations to persons with

 disabilities who seek to take the USMLE, in accordance with the requirements of the ADA.”

 Id.

                                            ARGUMENT

 A. Plaintiff Meets the Standards for a Preliminary Injunction.

        Four factors govern a district court’s decision whether to issue a preliminary injunction:

 “(1) whether the movant has shown a reasonable probability of success on the merits;

 (2) whether the movant will be irreparably injured by denial of the relief requested; (3) whether

 granting preliminary relief will result in even greater harm to the nonmoving party; and (4)

 whether granting the preliminary relief will be in the public interest.” American Civil Liberties

 Union of New Jersey v. Black Horse Pike Regional Bd. of Educ., 84 F.3d 1471, 1477 n.2 (3d

 Cir.1996) (en banc). As established below, Plaintiff easily meets these requirements for

 obtaining a preliminary injunction.

        1. Plaintiff Is Likely to Succeed on the Merits.

        Title III of the Americans with Disabilities Act prohibits discrimination on the basis of

 disability. An individual has a disability if he or she is substantially limited in a major life

 activity. 42 U.S.C. § 12102. The Department of Justice has explained that “[t]he term



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 ‘substantially limits’ shall be construed broadly in favor of expansive coverage, to the maximum

 extent permitted by the terms of the ADA.” 28 C.F.R. § 36.105. Courts regularly construe

 dyslexia as a disability that substantially limits the major life activities of reading, learning, and

 concentrating. See, e.g., Vinson v. Thomas, 288 F.3d 1145, 1153-54 (9th Cir. 2001); Karlik v.

 Colvin, 15 F. Supp. 3d 700, 707 (E.D. Mich. 2014) (collecting cases).

         Title III of the Americans with Disabilities Act (ADA) requires that testing providers,

 including the NBME, “offer such examinations . . . in a place and manner accessible to persons

 with disabilities or offer alternative accessible arrangements for such individuals.” 42 U.S.C. §

 12189 (emphasis added).3 The U.S. Department of Justice regulations interpret this provision of

 the ADA to require that

            “[t]he examination is selected and administered so as to best ensure that, when
            the examination is administered to an individual with a disability that impairs
            sensory, manual, or speaking skills, the examination results accurately reflect
            the individual’s aptitude or achievement level or whatever other factor the
            examination purports to measure, rather than reflecting the individual’s
            impaired sensory, manual, or speaking skills (except where those skills are the
            factors that the examination purports to measure).”

 28 C.F.R. § 36.309(b)(1)(i) (emphasis added); Rawdin v. American Bd. of Pediatrics, 582 F.

 App’x 114, 118 n.9 (3d Cir. 2014) (quoting regulation).

         When considering what accommodations are necessary for the test to “best ensure” that

 the test measures the applicant’s ability rather than his or her disability, the testing entity must

 give



 3
   The ADA and Rehabilitation Act contain analogous requirements and this brief analyzes the
 claims together. See, e.g., Bragdon v. Abbott, 524 U.S. 624, 632 (1998). The New Jersey Law
 Against Discrimination is at least as protective as the federal statutes. Jones v. Aluminum
 Shapes, 772 A.2d 34, 40 (N.J. Sup. Ct. App. Div. 2001) (holding that “it is well-settled law in
 New Jersey that our state courts, in interpreting the LAD, should look to federal anti-
 discrimination cases as a key source of interpretive authority.”). Accordingly, the remainder of
 this discussion will focus on the ADA.
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        “considerable weight to documentation of past modifications, accommodations, or
        auxiliary aids or services received in similar testing situations, as well as such
        modifications, accommodations, or related aids and services provided in response
        to an Individualized Education Program (IEP) provided under the Individuals with
        Disabilities Education Act or a plan describing services provided pursuant to
        section 504 of the Rehabilitation Act of 1973, as amended (often referred to as a
        Section 504 Plan).”

 28 C.F.R. § 36.309(b)(1)(v). The regulations further state that “[a]ny request for documentation,

 if such documentation is required, is reasonable and limited to the need for the modification,

 accommodation, or auxiliary aid or service requested.” Id. § 36.309(b)(1)(iv). Finally, the

 regulations state explicitly that “[r]equired modifications to an examination may include changes

 in the length of time permitted for completion of the examination and adaptation of the manner in

 which the examination is given.” Id. § 36.309(b)(2) (emphasis added).

        Courts analyzing the regulation have made clear that testing entities must provide the

 testing accommodations “so as to best ensure” that the results reflect whatever skill or aptitude

 the exam purports to measure. Enyart v. Nat’l Conference of Bar Examin’rs, Inc., 630 F.3d

 1153, 1162 (9th Cir. 2011) (quoting 28 C.F.R. § 36.309). This “best ensures” standard is distinct

 from and a higher standard than the “reasonable accommodation” standard used in the

 employment discrimination context. Id.; see also Rawdin, 582 F. App’x at 118 n.7 (following

 Enyart).

        Courts give considerable weight to expert evaluations of the person with a disability and

 his or her prior history of accommodations. For instance, in D’Amico v. New York State Board

 of Law Examiners, 813 F. Supp. 217 (W.D.N.Y. 1993), the Court granted a preliminary

 injunction, taking the view that the opinion of the plaintiff’s physician must be given great

 weight and that the absence of a medical expert reviewing on behalf of the testing agency left it

 in “no position to countermand . . . as to what is the appropriate accommodation.” Id. at 222.



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 See also, e.g., Agranoff v. Law Sch. Admission Council, Inc., 97 F. Supp. 2d 86, 87 (D. Mass.

 1999).

          Here, Dr. Messenger can readily establish that he is an individual with a disability

 because dyslexia is significantly limits the ability to read, learn, concentrate, think, and process

 information, as shown by the basis of extensive testing demonstrating that even though he

 graduated from medical school, he has the reading comprehension of a fourth-grader. His

 dyslexia interferes with his everyday life activities including following driving directions, using

 recipes to prepare meals for his family, and reading and composing emails. He has difficulty

 even reading books to his children who are in elementary school. As discussed above, courts

 routinely recognize that individuals with Dr. Messenger’s level of reading difficulties due to his

 dyslexia are individuals with a disability.

          Further, such documentation of Dr. Messenger’s dyslexia dates back to second grade. He

 has continually received expert evaluations diagnosing him with dyslexia and recommending

 that he be given extra time on exams. Deference must be given to the opinions of these

 evaluators particularly since NBME has produced no evaluation of its own. 28 C.F.R. §

 36.309(b)(1)(v); Agranoff, 97 F. Supp. 2d at 87; D’Amico, 813 F. Supp. at 222. NBME has

 ignored not only this extensive documentation of Dr. Messenger’s disability but also his history

 of receiving double time in medical school. In fact, NBME has offered no explanation

 whatsoever for disregarding the substantial body of evidence that Dr. Messenger submitted

 documenting his disability and history of receiving testing accommodations.

          Since Dr. Messenger can readily establish that he is an individual with a disability

 substantially limited in the major life activities of reading, learning, and concentrating, he will be

 able to establish that double time is a necessary reasonable modification for NBME to “best



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 ensure” that the Step 2 CK fairly measures his medical knowledge. 28 C.F.R. § 36.309(b)(1)(i);

 Enyart, 630 F.3d at 1162. When he has taken the testing without accommodations, he has been

 unable to complete blocks of questions and been forced to guess to finish the test. In addition, he

 has experienced fatigue and anxiety. For the reasons Dr. Kestler described in her expert

 evaluation of Dr. Messenger, extra time is necessary to ensure that the test measures his abilities

 rather than the extent of his dyslexia.

         For these reasons, Dr. Messenger is likely to prevail on the merits of his claims.

 2. Dr. Messenger will Suffer Irreparable Harm if the Injunction Is Not Granted.

         Courts have presumed irreparable harm when there was a violation of the ADA, since the

 statute’s goals “include assuring that all individuals with disabilities enjoy ‘equality of

 opportunity, full participation, independent living, and economic self-sufficiency.’” Cupolo v.

 Bay Area Rapid Transit, 5 F. Supp. 2d 1078, 1084 (N.D. Cal. 1997) (quoting 42 U.S.C. §

 12101). Consequently, “[i]njuries to individual dignity and deprivations of civil rights constitute

 irreparable injury.” Id.; see also, e.g., Burriola v. Greater Toledo YMCA, 133 F. Supp. 2d 1034,

 1040 (N.D. Ohio 2001) (holding that there is irreparable harm when a person is discriminated

 against on the basis of disability).

         Courts also view as irreparable injury a person’s psychological harm in not being able to

 pursue his chosen profession. In Enyart v. Nat’l Conference of Bar Examin’rs, the Ninth Circuit

 affirmed the grant of a preliminary injunction requiring bar exam administrators to provide

 accommodations for a blind test-taker, explaining that he had “demonstrated irreparable harm in

 the form of the loss of opportunity to pursue her chosen profession.” Id. at 1165.

         Just as Enyart wanted to become a lawyer, Dr. Messenger wants to become a

 pediatrician. Each day that Dr. Messenger has to defer his dream is a day that he suffers the sort



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 of emotional and dignitary harm that the ADA was enacted to prevent. Dr. Messenger has

 already lost two years as a result of NMBE’s refusal to provide testing accommodations, and

 with the passing of each year, he becomes increasingly less likely to obtain the residency

 necessary to become a pediatrician. In addition, delay in pursuing a residency decreases the

 likelihood of obtaining a pediatric residency; he is at increasing risk that he will never become a

 pediatrician. In addition, Dr. Messenger has been unable to find significant work opportunities

 and faces crushing student loan debt. His future and ability to care for his family are in jeopardy.

 Since this is precisely the sort of injury that courts have held to be irreparable harm, Dr.

 Messenger satisfies the requirement for irreparable harm.

 3. Balance of Hardships.

        NMBE routinely grants double-time on examinations. See, e.g., Doe v. Nat’l Bd. of

 Medical Exam’ners, 199 F.3d 146, 150 (3d Cir. 1999) (stating that NMBE provided double-time

 for test applicant even though he requested only time and a half); Mahmood v. Nat’l Board of

 Medical Exam’ners, Civ. A. No. 12-1544, 2013 U.S. Dist. LEXIS 19811, at *8-*9 (E.D. Pa. Feb.

 14, 2013) (noting that the NBME has granted double time). NMBE will suffer no harm if it

 grants Dr. Messenger double time on his examination, in accordance with its policy of providing

 extra time for students with disabilities and settlement agreement it entered into with the

 Department of Justice committing to providing such accommodations.

        Whereas NBME will suffer no harm if it grants him double time, Dr. Messenger has had

 to put his career on hold, and, will continue to do so. For as long as NMBE refuses to provide

 him the necessary testing accommodations, he will not be able to apply for the necessary

 pediatric residencies to become a pediatrician. For these reasons, NMBE’s refusal to grant a




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 routine accommodation is outweighed by the significant harm that Dr. Messenger would

 experience in having to postpone indefinitely his dream of becoming a pediatrician.

 4. Granting the Preliminary Injunction Will Advance the Public Interest.

        Congress has made clear in enacting the ADA that the public interest lies in the

 eradication of discrimination against persons with disabilities, declaring that the ADA’s purpose

 is “to provide a clear and comprehensive national mandate for the elimination of discrimination

 against individuals with disabilities.” Tennessee v. Lane, 541 U.S. 509, 516 (2004) (citations

 omitted). Furthermore, the ADA is intended to address the various forms of discrimination

 encountered by individuals with disabilities including “the failure to make modifications to

 existing facilities and practices” and “exclusionary qualification standards and criteria.” 42

 U.S.C. §12101(a)(5). In the context of testing accommodations, Congress explained that it

 enacted 42 U.S.C. § 12189 “to assure that persons with disabilities are not foreclosed from

 educational, professional or trade opportunities because an examination or course is conducted in

 an inaccessible site or without an accommodation.” Rawdin, 582 F. App’x at 118 (quoting H.R.

 Rep. No. 101-485(III), at 68-69 (1990), reprinted in 1990 U.S.C.C.A.N. 445, 491-92). For these

 reasons, granting a preliminary injunction would further the public interest in eradicating

 discrimination against individuals with a disability.

 B. Plaintiff Should Not Be Required to Post a Bond.

        In cases such as this, it is appropriate for the court to waive the requirement that Plaintiff

 post a bond. See Temple Univ. v. White, 941 F.2d 201, 219 (3d Cir. 1991). In Temple, the Third

 Circuit held that a court should weigh the potential loss to the enjoined party against the hardship

 that a bond requirement would impose on the applicant. Id. at 219. The Third Circuit further




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 explained that the district court should consider whether the applicant seeks to enforce a

 significant federal right or matter of public interest. Id. at 220.

         Applying the Temple factors to this case, it is clearly appropriate for this Court to waive

 the bond requirement for Dr. Messenger. Extra time is a routine testing accommodation that

 would cost NBME little, if anything, to provide. Plaintiff has been unable to find significant

 work given the career limbo that he is in, and he faces crushing student debt as a result of the

 medical school tuition he incurred in pursuing his dream of becoming a pediatrician. He must

 support a family of four children and cannot afford to pay a significant bond. In this instance,

 setting a bond would have the practical effect of denying Dr. Messenger the opportunity to take

 the exam with accommodations. Further, the second Temple factor counsels strongly against

 imposing a bond, as Dr. Messenger seeks to vindicate his civil rights as an individual with a

 disability protected by federal and state anti-discrimination laws.

                                           CONCLUSION

         For the reasons stated above, this Court should enter an order for a preliminary injunction

 before June 30, 2017, that requires Defendant to permit Dr. Messenger to take the USMLE Step

 2 CK with double time so that he has an opportunity to take the test in advance of the application

 cycle for pediatric residencies. Entry of an injunction by June 30, 2017 will enable Dr.

 Messenger to take this exam by July 15, 2017 and receive his results back in time to

 competitively apply for a residency on September 15, 2017.




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 Dated: May 26, 2017                        Respectfully submitted,


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                                            *Motions to participate pro hac vice to be
                                            submitted after case opened




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